Case 2:06-cr-20122-AC-VMM ECF No. 203, PageID.701 Filed 08/14/07 Page 1 of 8




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION



UNITED STATES OF AMERICA,

         Plaintiff,
                                                          Case No. 06-20122
-vs-                                                      HON AVERN COHN

D-11, VINCENZO BRONZINO,

         Defendant.
                                            /

                                          DECISION

                                                I.

         This is a criminal case tried to the bench. On August 2, 2007, the Court found

defendant guilty of a violation of 18 U.S.C. §§1956(a)(1)(A)(I) and (B)(ii) and 2 (Money

Laundering, Aiding and Abetting), following oral argument. It explained its reasons from

the bench. This Decision is a revision of the Court’s reasons. See Fed. R. Crim. P.

23(c).

                                                II.

                                                A.

         The indictment reads:

                 1.     That on or about October 22, 2003 through October
                 30, 2003, in the Eastern District of Michigan, Peter Dominic
                 Tocco, Peter Joseph Messina, David John Aceto, Alan H.
                 Russell, a/k/a “Shorty,” and Vincenzo Bronzino, defendants
                 herein, did knowingly cause to be conducted and attempt to
                 conduct a financial transaction, to wit: a series of
                 transactions intended to convert 15 chips, issued by
                 Greektown Casino, each valued at $1,000, into United
                 States currency, knowing that the chips constituted criminally
Case 2:06-cr-20122-AC-VMM ECF No. 203, PageID.702 Filed 08/14/07 Page 2 of 8




            derived property from a specified unlawful activity, to wit:
            gambling, in violation of the laws of the State of Michigan
            (Section 750.157(a)(b) of the Michigan Compiled Laws
            Annotated) as more particularly described in Paragraph 3A
            of Count One of this Indictment, which description is
            incorporated herein by reference:

                   A.     With the intent to promote the carrying on of
                          that unlawful activity, i.e., gambling, in violation
                          of the laws of the State of Michigan; and

                   B.     Knowing that the transaction was designed in
                          whole and in part to avoid a transaction
                          reporting requirement under State or Federal
                          law.

            All in violation of Title 18, United States Code, Sections
            1956(a)(1)(A)(I) and (B)(ii) and 2.

                                           B.

     The parties stipulated to the following:

     a.     That Defendant Vincenzo Bronzino gave 15 one-thousand
            Greektown Casino chips to Peter Messina on or about October 22,
            2003, knowing that said chips constituted the proceeds of a
            specified unlawful activity, i.e., gambling proceeds, in violation of
            the laws of the State of Michigan.

     b.     That Peter Dominic Tocco, Peter Joseph Messina and others
            converted $15,000.00 in Greektown Casino chips into cash in a
            manner intended to avoid the requirement that such cash
            transactions be reported and with the intent to promote the carrying
            on of gambling, in violation of the laws of the State of Michigan.

     c.     That the Greektown Casino is a financial institution as defined in 18
            U.S.C. §1956(4)(6)(A) and 31 U.S.C. §5312(a)(2)(X).

     d.     Prior to Vincenzo Bronzino giving Peter Dominic Tocco or Peter
            Joseph Messina 15 one thousand dollar Greektown Casino chips,
            the chips were legally held by Bronzino and were not proceeds of
            unlawful gambling activity.

     In addition to the stipulated facts, the government’s proofs principally consisted of


                                            2
Case 2:06-cr-20122-AC-VMM ECF No. 203, PageID.703 Filed 08/14/07 Page 3 of 8




two (2) intercepted phone conversations between defendant Bronzino and Messina,

which went as follows.

                                             C.

      On October 22, 2003, Bronzino called Messina.

             Bronzino:     All right. Let me explain something to you.

             Messina:      What?

             Bronzino:     I’ve got the money on me, all right?

             Messina:      Okay.

             Bronzino:    But I don’t got it, I don’t got it all. I got some
             cash and I got to go, go cash ‘em in. I got chips. Casino
             chips.

      In this part of the conversation, Bronzino is telling Messina he is willing to pay the

debt with casino chips. The conversation goes on:

             Messina:      Uh-huh.

             Bronzino:     Would you want those or do you want me to
             work –

             Messina:      How much is in chips?

             Bronzino:     I’ve got nine in cash, and I can give you fifteen
             in chips.

             Messina:      I don’t want the chips. . . .

      Messina responds that he does not want to be paid in chips. The conversation

goes on:

             Messina:      I can’t go cash ‘em in.

             Bronzino:     I’m just saying, it’s up to you.

             Messina:      You have to sign for them.

                                             3
Case 2:06-cr-20122-AC-VMM ECF No. 203, PageID.704 Filed 08/14/07 Page 4 of 8




Again, Messina is telling Bronzino he doesn’t want them because he’s got to go through

a rigamarole to cash them in. The conversation continues:

              Bronzino:     No you ain’t got to sign. There’s no signing.

              Messina:      When you cash them in, you do.

       In this part of the conversation, Messina displays a lack of knowledge of what

goes on in a casino. The conversation goes on:

              Bronzino:     No, you don’t. You don’t have to sign. You
              have to take you and another person to split it in half. Under
              ten thousand you don’t have to sign. You don’t have to give
              them ID or nothing.

              Messina:      Hmmrmph.

              Bronzino:     You go to Greektown.

              Messina:      Are you –

              Bronzino:     That’s how it is. That’s how it is, believe me. I
              do that every day. Every day I got these cash. I go down
              there and I cash in nine, then I wait twenty four hours and I
              cash in another nine. They don’t have, they don’t need no
              ID, no nothing.

       In this part of the conversation, Bronzino is trying to convince Messina to take the

chips and explaining how he should go about cashing them.

       This concludes the first phone call. In sum, Bronzino has instructed Messina

how he can cash in the chips in an effort to induce him into accepting them as partial

payment for his gambling debt.

                                            D.

       A follow-up conversation takes place the next day, October 23, 2003, which goes

as follows:


                                             4
Case 2:06-cr-20122-AC-VMM ECF No. 203, PageID.705 Filed 08/14/07 Page 5 of 8




              Bronzino:     Hello.

              Messina:      Enzo.

              Bronzino:     Eh, yeah.

              Messina:     Is there a casino host down there I can talk to
              to make sure they don’t give me a hard time about cashin’
              these chips?

       In this part of the conversation, Messina displays hesitancy and naivete as well

as concern about his ability to cash in the chips. Messina is obviously aware that if the

chips are cashed in a single transaction, a report must be filed with the Internal

Revenue Service. The conversation goes on:

              Bronzino:     I’m tellin’ you . . . you, you goin’ by yourself?

              Messina:      Oh, no. . . . I got me and two other guys.

              Bronzino:    Okay. Split them up between you three. You’ll
              have no problem.

       Again, Bronzino is instructing Messina. The conversation goes continues:

              Messina:      Well, what do . . .

              Bronzino:     You.

              Messina:     . . . what do I gotta do, just, if they ask me
              questions, where did I play?

       Messina is again displaying his naivete. Bronzino responds:

              Bronzino:    Nothing. You say you had ‘em in your pocket.
              From a long time ago, don’t worry about it.

       Bronzino is effectively writing a scenario for Messina to follow in cashing in the

chips. The conversation goes on:

              Messina:      And if they ask me for my driver’s license?


                                              5
Case 2:06-cr-20122-AC-VMM ECF No. 203, PageID.706 Filed 08/14/07 Page 6 of 8




          Again, Messina is displaying hesitancy. The conversation goes on:

                Bronzino:      Don’t give it to ‘em. If they, you know, it
                doesn’t, it doesn’t, it doesn’t even show on record, don’t
                worry about it.

                Messina:      All right.

          Bronzino is building up Messina’s confidence in his ability to accept the chips and

cash them in without having a report filed. The conversation continues:

                Messina:      All right.

                Bronzino:     I mean I give, I give my driver’s license all the
                time.

                Messina:      Ok.

                Bronzino:     They ask you, but you don’t have to if you don’t
                want to.

                Messina:      Alright.

                Bronzino:     Alright?

          Messina is finally persuaded to take the chips. Later that day, Messina and two

(2) of his associates cash in the chips at the casino.

                                              III.

                                               A.

          The facts here are analogous to what took place in United States v. Winston, 687

F.2d 832 (6th Cir. 1982), on which the government relies, and are dissimilar to what

occurred in Morei v. United States, 127 F.2d 827 (6th Cir. 1942), on which defendant

relies.

          In Winston, the defendant was convicted of aiding and abetting in the possession

of cocaine with the intent to distribute. While he took no part in the actual exchange of

                                               6
Case 2:06-cr-20122-AC-VMM ECF No. 203, PageID.707 Filed 08/14/07 Page 7 of 8




the cocaine, he put the transaction together, and in essence acted as salesman for the

supplier and set up the sale, and introduced the parties and quoted a price. The Sixth

Circuit, in affirming the conviction, said:

              Appellant was the catalyst who put this transaction together .
              . . . . He set up the sale. He introduced the parties. He
              quoted a price to Dr. Pigford after he was told the amount of
              cocaine Dr. Pigford desired to purchase. The ultimate
              inference is that appellant acted with the specific intent to
              facilitate the sale of the cocaine from Ms. Couvillon to Dr.
              Pigford. He clearly knew what was going on, and he
              intended by his actions to make the illegal venture succeed.
              See United States v. Bryant, supra, 461 F.2d at 911-20
              (evidence sufficient to support a conviction for aiding and
              abetting in the sale of untaxed whiskey, but conviction
              reversed for inadequate jury instructions).

687 F.2d at 835.

       In Morei, several defendants were convicted of the unlawful purchase, sale, and

distribution of heroin to be used to dose horses, and conspiracy regarding the same.

The Court of Appeals for the Sixth Circuit reversed one of the defendant’s, Dr. Platt who

was charged as an aider or abettor, conviction for insufficient evidence because there

was no concert of action between Dr. Platt and the other defendants. The court of

appeals’ reasoning was very fact specific, based on Dr. Platt’s conduct which apparently

only involved him giving an informer the name of one of the defendants as a person

from whom he might obtain heroin to dose horses.

       Here, Bronzino’s actions go far beyond those of Dr. Platt in Morei and are of the

level of involvement like the defendant in Winston. Bronzino was the teacher and

Messina was the pupil. To put it another way, Bronzino was the director and Messina

was the actor. Messina was fully aware of the fact that the chips were to be used to pay


                                              7
Case 2:06-cr-20122-AC-VMM ECF No. 203, PageID.708 Filed 08/14/07 Page 8 of 8




his gambling debt, only if Messina could cash them in a way that did not cause a report

to the IRS to be generated. Initially, Messina did not know how to accomplish this.

Once instructed by Bronzino, however, he was able to do so. This is a classic case of

an aider and abetter to money laundering, and for these reasons Bronzino is guilty of

the crime charged.




                                          s/Avern Cohn
                                         AVERN COHN
                                         UNITED STATES DISTRICT JUDGE


Dated: August 14, 2007


I hereby certify that a copy of the foregoing document was mailed to the parties of
record on this date, August 14, 2007, by electronic and/or ordinary mail.


                                          s/Julie Owens
                                         Case Manager, (313) 234-5160




                                            8
